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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

ANTONIO RALPH, SR.,
Plaintiff,

V. Civil Action No. 3:20CV725
G.M. BRINKLEY, et al.,
Defendants.
MEMORANDUM OPINION
By Memorandum Order entered on October 16, 2020, the Court conditionally docketed
Plaintiff's action. (ECF No. 3.) At that time, the Court warned Plaintiff that he must inform the
Court of his current address if he is released or relocated. On August 31, 2021, the United States
Postal Service returned an August 23, 2021 Memorandum Order to the Court marked, “RETURN
TO SENDER” and “ADDRESSEE NOT IN OUR FACILITY.” (ECF No. 16.) Since that date,
Plaintiff has not contacted the Court to provide a current address. Plaintiff's failure to contact the
Court and provide a current address indicates his lack of interest in prosecuting this action. See
Fed. R. Civ. P. 41(b). Accordingly, the action will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall accompany this Memorandum Opinion.

 

Is} J. -

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Richmond, VA United States District Judge

 

 

 
